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1     CENTER FOR DISABILITY ACCESS
      Ray Ballister, Jr., Esq., SBN 111282
2     Mark Potter, Esq., SBN 166317
3
      Phyl Grace, Esq., SBN 171771
      Dennis Price, SBN 279082
4     Mail: PO Box 262490
      San Diego, CA 92196-2490
5     Delivery: 9845 Erma Road, Suite 300
      San Diego, CA 92131
6     (858) 375-7385; (888) 422-5191 fax
      phylg@potterhandy.com
7     Attorneys for Plaintiff
8     CRIS C. VAUGHAN (SBN: 99568)
9
      cvaughan@adasolutionsgroup.com
      VAUGHAN & ASSOCIATES
10    6207 South Walnut Street, Suite 800
      Loomis, CA 95650
11    Telephone: (916) 660-9401
      Facsimile: (916) 660-9378
12    Attorney for Defendant, RREI OSR, LLC, a California Limited
      Liability Company
13
14                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
15
16    PAMELA KOUSSA,                        Case: 3:16-CV-05275-MEJ
17                 Plaintiff,               JOINT STIPULATION FOR
18    v.                                    DISMISSAL PURSUANT TO
                                            F.R.CIV.P. 41 (a)(1)(A)(ii)
19
20    RREI OSR, LLC, a California
      Limited Liability Company; and
21    Does 1-10,
22                 Defendants.
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     Joint Stipulation for Dismissal               Case: 3:16-CV-05275-MEJ
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1
2                                      STIPULATION
3
4            Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and
5    between the parties hereto that this action may be dismissed with prejudice
6    as to all parties; each party to bear his/her/its own attorneys’ fees and costs.
7    This stipulation is made as the matter has been resolved to the satisfaction of
8    all parties.
9
10
11
     Dated: March 24, 2017              CENTER FOR DISABILITY ACCESS

12
                                        By: /s/ Phyl Grace
13
                                               Phyl Grace
14                                             Attorneys for Plaintiff
15
16   Dated: March 24, 2017              VAUGHAN & ASSOCIATES
17
                                        By: /s/ Cris C. Vaughan
18                                             Cris C. Vaughan
                                               Attorney for Defendant
19                                             RREI OSR, LLC, a California
                                               Limited Liability Company c.
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     Joint Stipulation for Dismissal                     Case: 3:16-CV-05275-MEJ
       Case 3:16-cv-05275-MEJ Document 16 Filed 03/24/17 Page 3 of 3




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2
                             SIGNATURE CERTIFICATION
3
4    Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
5    Policies and Procedures Manual, I hereby certify that the content of this
6    document is acceptable to Cris C. Vaughan, counsel for RREI OSR, LLC, a
7    California Limited Liability Company, and that I have obtained Mr.
8    Vaughan’s authorization to affix his electronic signature to this document.
9
10   Dated: March 24, 2017             CENTER FOR DISABILITY ACCESS
11
12                                     By: /s/ Phyl Grace
13                                         Phyl Grace
                                           Attorneys for Plaintiff
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     Joint Stipulation for Dismissal                   Case: 3:16-CV-05275-MEJ
